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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION
HOWARD COHAN, CASE NO.: 16 cv 7946
Plaintiff,
vs. Honorable loan H. Lefkow
WALDORF =ASTORIA MANAGEMENT LLC
d/b/a WALDORF ASTORIA CHICAGO

Defenclant($)
/

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE
THIS CAUSE came before the Court on the parties’ J'oint Stipulation of Disrnissal With
Prejudice, and the Court, having considered Same, having reviewed the file, and being otherwise
advised in the premises, it is hereby ORDERED AND ADJUDGED:
All claims that Were or could have been raised in this action are hereby DISMISSED

WITH PREJUDICE.

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Tiie Honorable Joan H. Leff<»dw
UNITED STATES DISTRICT COURT JUDGE

JAN 2 0 2017

 

Copies furnished to:
Counsel of Record

 

